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server {
listen                  443;
server_name localhost;
#server_name_in_redirect off;
root /var/www/market/public;

ssl                        on;
ssl_certificate                    /etc/nginx/ssl/ssl.crt;
ssl_certificate_key                /etc/nginx/ssl/ssl.key;

    location / {
       proxy_read_timeout 300;
       try_files $uri $uri/ /index.php;
       allow 127.0.0.1;
       allow 62.75.246.20;
       deny all;
    }

    location ~* \.php$ {
       fastcgi_buffer_size 128k;
       fastcgi_buffers 4 256k;
       fastcgi_busy_buffers_size 256k;
       fastcgi_read_timeout 300;
       include fastcgi_params;
       fastcgi_pass unix:/var/run/php5-fpm.sock;
    }


}
